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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              (FORT LAUDERDALE DIVISION)

In re:                                                      CASE NO. 21-12188-PDR


NO RUST REBAR, INC.,

      Debtor
__________________________________/

SONYA S. SLOTT, Trustee,                                    ADV. CASE NO.

         Plaintiff,

v.

GRIECO CHEVROLET FORT LAUDERDALE LLC,

      Defendant.
______________________________________________/

                                  ADVERSARY COMPLAINT

         The Plaintiff, SONYA SALKIN SLOTT, Chapter 7 trustee of the estate of debtor No

Rust Rebar, Inc. (“Debtor”), files this Adversary Complaint against the Defendant, GRIECO

CHEVROLET FORT LAUDERDALE LLC (“Grieco” or “Defendant”), and says:

                        THE PARTIES, JURISDICTION, AND VENUE

         1.      On March 5, 2021 (“Petition Date”), the Debtor filed a voluntary petition

(“Petition”) for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

Code”) [ECF # 1] initiating the above-captioned bankruptcy case (“Bankruptcy Case”) before the

above-captioned bankruptcy court (the “Court”).

         2.      On May 23, 2022, the Court entered an order converting this case from a Chapter

11 case to a Chapter 7 [ECF #193].

         3.      The next day, Plaintiff Sonya Salkin Slott (the “Trustee” or “Plaintiff”) was

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appointed Chapter 7 trustee [ECF #194], and she files this action in her capcity as the duly

appointed and acting trustee of the bankruptcy estate of the Debtor with standing to assert and

prosecute the claim set forth herein.

        4.       The Defenedant is a Florida limited liability company, with its principal place of

business located at 1300 North Federal Highway, Fort Lauderdale, Florida 33304.

        5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a) and

1334, and the general order of reference entered by the United States District Court for the

Southern District of Florida on or about March 27, 2012. This is a core proceeding pursuant to

28 U.S.C. § 157(b)(2)(A), (N) and (O). The Plaintiff consents to the entry of orders and

judgment by the Bankruptcy Court. This adversary proceeding is brought pursuant to FRBP

7001(4)

        6.       Venue is proper in this district pursuant to 28 U.S.C. § 1409.

        7.       All conditions precedent to the filing of this action have been performed, waived

or satisfied.

                                FACTS COMMON TO ALL COUNTS

A.      Procedural Background

        8.       On July 22, 2022, the Trustee filed her Motion for the Entry of an Order (1)

Approving Bidding Procedures, (2) Approving the Form and Manner of Notice of Sale, (3)

Scheduling a Final Hearing to Approve Sale, and (4) Approving the Sale of the Real Property,

Free and Clear of Liens, Claims and Encumbrances (the “Sale Procedures Motion”) [ECF

#219]. The general purpose of the Sale Procedures Motion to initiate the process of selling the

premises of the Debtor’s former business operations, 2681 NE 4th Ave, Pompano Beach, FL

33064 (the “Premises”).

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       9.     On August 23, 2022, the Court entered an Order Granting the Sale Procedures

Motion (the “Sale Procedures Order”) [ECF #258].

       10.    On September 21, 2022, the Trustee filed her Supplement to the Sale Procedures

Motion (“Supplement”) [ECF #286].

       11.    On October 3, 2022, the Trustee filed a Motion to Amend Sale Procedures Order

to extend auction and related deadlines by two weeks [ECF #295] which the Court granted that

same day [ECF #299].

       12.    Pursuant to all of the foregoing, on October 18, 2022, the Trustee entered into an

Asset Purchase Agreement (the “APA”) with Grieco, a copy of which is attached as Exhibit

“A”.

       13.    On October 18, 2022, the Trustee filed her Expedited Motion To Modify Order

Granting Motion For The Entry Of An Order (1) Approving Bidding Procedures, (2) Approving

Manner Of Notice Of Sale, (3) Scheduling A Final Hearing, And (4) Approving The Sale Of Real

Property Free And Clear Of Liens, Claims And Encumbrances [ECF #313] (the “Grieco Sale

Motion”), which attached the APA as an exhibit.

       14.    Under the terms of the APA and Grieco Sale Motion, among other things, Grieco

was to serve as a stalking horse bidder for a bankruptcy auction sale to be conducted on October

26, 2022 (the “Auction”), with a sale hearing before the Court to confirm and approve the results

of the Auction scheduled for October 27, 2022 (the “Sale Hearing”). Grieco’s stalking horse bid

was $3,000,000.00, plus a 6% buyer’s premium ($180,000.00), for a total due to the estate from

Grieco of $3,180,000.00, if no other bidding occurred.

       15.    In connection with the APA, on October 18, 2022, Grieco wired a $100,000.00

deposit (the “Initial Deposit”) to the trust account of Dunn Law, P.A., the Trustee’s closing

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agent.

         16.    On October 20, 2022, the Court held a hearing on approval of Grieco as the

stalking horse bidder where the stalking horse contract was approved.

         17.    On the next day, the Court entered its Order Granting the Grieco Sale Motion

(ECF #319).

         18.    The Auction took place as scheduled on October 26, 2022. No other bidder

appeared to overbid the stalking horse bid of Grieco. As such, upon the conclusion of the

Auction, the Trustee declared Grieco the successful bidder.

         19.    Pursuant to §5.2 of the APA, once Grieco was deemed the successful bidder at the

Auction, Grieco was required to make a supplemental deposit within 24 hours of the conclusion

of the Auction such that the supplemented deposit is equal to 10% of the Purchase Price

including the Buyer’s Premium (as those terms are defined in the APA) (the “Supplemental

Deposit”). Since the total Purchase Price included the Buyer’s Premium, a Supplemental Deposit

of $218,000.00 was due. Pursuant to §5.2 of the APA, the Initial Deposit and Supplemental

Deposit were collectively defined as “the Deposit.”

         20.    Grieco failed to post the Supplemental Deposit within twenty-four hours of the

conclusion of the Auction.

         21.    The Sale Hearing occurred as scheduled on October 27, 2022, at 2:00pm. Grieco

did not appear at the Sale Hearing.

         22.    Instead, just prior to the Sale Hearing (at approximately 12:10pm on October 27,

2022), Grieco (through counsel) sent a notice by email purporting to terminate the APA (the

“Notice”). The Trustee filed the Notice with the Court prior to the Sale Hearing [ECF #323], and

orally addressed the issue to the Court at the Sale Hearing.

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       23.       At the Sale Hearing, the Court approved the winning bid of Grieco, and the next

day (October 28, 2022) entered its Order Approving Sale Of Real Property Free And Clear Of

Liens, Claims And Interests [ECF #325] (the “Sale Approval Order”) to that effect.

       24.       The Sale Approval Order was not appealed by any party, and is now a final order

of the Court.

       25.       Pursuant to §10.1 of the APA, the closing date as defined in the APA was to be

within 10 calendar days of the Sale Approval Order becoming final.

       26.       The closing date has since passed and Grieco has continued to refuse to close the

transaction within the timeframe required by §10.1 of the APA.

       27.       Similiarly, Grieco has continued to refuse to pay the Trustee the Supplemental

Deposit as required by §5.2 of the APA which has been due since 24 houts after Grieco was

deemed the Succesful Buyer at the Auction.

                                            COUNT I

                                        Breach of Contract


       28.       The Trustee realleges paragraphs 1 through 27 above.

       29.       The APA is a lawful contract between the Trustee and Grieco, as determined by

the Sale Approval Order.

       30.       Grieco’s failure to close the transaction contemplated by the APA constitutes a

default by Grieco under §14.1 of the APA. Accordingly, Grieco is in breach of its obligations

under the APA.

       31.       Grieco’s failure to pay the Supplemental Deposit portion of the Deposit is an

additional breach of the APA.


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       32.     Under §14.1 of the APA, the Trustee’s remedy for such breaches is retention of

the Deposit, which is defined in §5.2 of the APA to be the Initial Deposit ($100,000.00, and

already in the possession of the Trustee) and the Supplemental Deposit ($218,000.00, which

remains unpaid by Grieco).

       33.     Accordingly, as a result of said breaches of the APA by Grieco, the Trustee is

entitled to (i) retain the $100,000.00 Initial Deposit and (ii) a judgment in the amount of

$218,000.00 against Grieco, which sum represents the Supplemental Deposit which remains

wrongfully unpaid by Grieco.

       WHEREFORE, the Trustee demands the entry of a judgment against the Defendant and

in favor of the Estate (i) in the amount of the Supplemental Deposit, $218,000.00, and (ii)

awarding possession of the Initial Deposit, $100,000.00, to the Estate, and (iii) for any other

relief the Court deems appropriate.

       Respectfully submitted this 20th day of December 2022.

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